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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                   PADUCAH DIVISION
                              CASE NO. 5:20-CV-00200-TBR-LLK

LAYLA KUNKLE                                                                           PLAINTIFF

v.

TRIGG COUNTY FISCAL COURT, et al.                                                 DEFENDANTS

                                           JUDGE’S REPORT

         Senior Judge Thomas B. Russell referred this matter to U.S. Magistrate Judge Lanny King

to conduct a settlement conference. [DN 6].

         A settlement conference was held in this matter on March 24, 2021, [DN 7], with all parties

attending and represented by counsel. Following negotiations between the Court and counsel

and/or the Parties, the undersigned reports that the parties were able to reach an amicable

resolution.

         The Parties are directed to submit an Agreed Order of Dismissal to Judge Russell within

thirty days of the entry of this Report.




                                                  March 26, 2021




c:       Counsel of Record
p:       5.48
